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NOT FOR PUBLICATION

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

  $HIREE$HA REDDY CHERUKU and                            Civil Action No.: 14-6855 (CCC-MF)
  MAHENDER REDDY CHERUKU,                        I




                  Plaintiffs,                                  ORDER

          v.

  UNITED STATES DEPARTMENT OF
  HOMELAND SECUIRTY, et al.,

                  Defendants.

CECCHI, District Judge.

        This matter comes before the Court on a motion of Defendants to dismiss Plaintiffs’

Amended Complaint for lack of subject matter jurisdiction and for failure to state a claim pursuant

to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), respectively.

    WHEREAS the Court held a conference on November 23, 2015; and

   WHEREAS the parties intend to work toward a resolution of the case by pursuing alternative

administrative options; and

    WHEREAS the parties consent to a stay and administrative termination of this case pending

alternative resolution;

IT IS on this 25th day of November, 2015

    ORDERED that Defendants’ Motion to Dismiss (ECF No. 10) is administratively terminated

without prejudice to Defendants to refile; and it is further

   ORDERED that this case is stayed and administratively terminated; and it is further

   ORDERED that the Clerk of the Court shall mark this case “Stayed” and “Administratively

Terminated”; and it is further

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  ORDERED that the case may be reopened by letter request of either party to the Court.



SO ORDERED.




                                                         CLAIRE C. CECCHI, U.S.D.J.




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